Case 2:21-cv-08309-JVS-KK Document 8 Filed 12/06/21 Page 1 of 1 Page ID #:98




 1
 2
 3                                            JS-6

 4
 5
 6
                         UNITED STATES DISTRICT COURT
 7
                       CENTRAL DISTRICT OF CALIFORNIA
 8
 9
10   FLOYD DEWAINE SCOTT,                            Case No. CV 21-8309-JVS (KK)
11                              Petitioner,
12                      v.                           JUDGMENT
13   R.C. JOHNSON,
14                              Respondent.
15
16
17
18        Pursuant to the Order Summarily Dismissing Action Without Prejudice, IT IS
19   HEREBY ADJUDGED that this action is DISMISSED without prejudice.
20
21
22
     Dated: December 06, 2021
23                                            HONORABLE JAMES V. SELNA
                                              United States District Judge
24
25
26
27
28
